   Case 2:13-cr-00137-BWA-JVM            Document 181       Filed 09/24/13     Page 1 of 8




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                          CRIMINAL ACTION


VERSUS                                                            NO: 13‐137


JAVON PATTERSON, ET AL.                                           SECTION: “H”(1)



                                    ORDER AND REASONS

       Before the Court is a Motion for Review of Release Order (R. Doc. 172). As explained more

fully below, the Magistrate Judge assigned to this case lacked authority to order the release of

Defendant Javon Patterson. Accordingly, the Motion is GRANTED.



                                        BACKGROUND

       On August 2, 2013, a federal grand jury in the Eastern District of Louisiana returned a

seventeen‐count indictment charging Patterson and others with violations of the Federal

Controlled Substances Act, 21 U.S.C. § 841, et seq. Patterson was arrested in Texas and made his

                                               1
    Case 2:13-cr-00137-BWA-JVM            Document 181         Filed 09/24/13     Page 2 of 8




initial appearance in the Southern District of Texas on August 15, 2013. Four days later, Magistrate

Judge Nancy Robinson held a detention hearing. Patterson was present and represented by

counsel. At the conclusion of the proceedings, Magistrate Judge Robinson ordered that Patterson

be detained pending trial. Patterson was subsequently transported to the Eastern District of

Louisiana.

       On September 5, 2013, Patterson made his initial appearance in the Eastern District of

Louisiana. Patterson appeared for a detention hearing before Magistrate Judge Sally Shushan on

September 11, 2013. Magistrate Judge Shushan ordered Patterson's release from custody, subject

to various conditions. The Government filed the instant Motion on September 16, 2013.



                                       LAW AND ANALYSIS

       The Bail Reform Act of 1984, 18 U.S.C. § 3141, et seq., provides two mechanisms for

challenging a detention order prior to review by a court of appeals—18 U.S.C. §§ 3142(f) and

3145(b). See United States v. Cisneros, 328 F.3d 610, 614 (10th Cir. 2003). Magistrate Judge

Shushan lacked authority to order Patterson's release under either provision.1 Accordingly, the

instant Motion is granted.




       1
         The record is unclear whether Magistrate Judge Shushan invoked Section 3142(f) or Section
3145(b) as the basis for her decision.

                                                 2
     Case 2:13-cr-00137-BWA-JVM              Document 181          Filed 09/24/13        Page 3 of 8




I.     18 U.S.C. § 3142(f)

       A criminal defendant awaiting trial is entitled to a hearing prior to the issuance of a

detention order. 18 U.S.C § 3142(e). A "judicial officer" shall determine at the hearing whether

any combination of conditions will reasonably assure both the defendant's appearance before the

court and the safety of the community. 18 U.S.C. § 3142(f). Section 3142(f) provides the following

mechanism for review of an initial detention order:

               The hearing may be reopened, before or after a determination by
               the judicial officer, at any time before trial if the judicial officer finds
               that information exists that was not known to the movant at the
               time of the hearing and that has a material bearing on the issue
               whether there are conditions of release that will reasonably assure
               the appearance of such person as required and the safety of any
               other person and the community.

18 U.S.C. § 3142(f) (emphasis added).

       The issue before the Court is whether a magistrate judge in the charging district is a "judicial

officer" that may "reopen" a detention hearing held by a magistrate judge in the arresting district.

Although the Fifth Circuit has not yet addressed this issue, a decision from the Tenth Circuit

provides guidance.

       In United States v. Cisneros, the defendant was arrested in Arizona on the basis of a federal

indictment returned in New Mexico. 328 F.3d at 612. A magistrate judge in Arizona held a

detention hearing and released the defendant on her own recognizance. Id. The defendant was

subsequently arraigned before Magistrate Judge Don Svet in New Mexico, who "adopted" the

                                                    3
    Case 2:13-cr-00137-BWA-JVM            Document 181         Filed 09/24/13     Page 4 of 8




release conditions imposed by the magistrate judge in Arizona. Id. at 612–13. Approximately one

month later, the Government moved Magistrate Judge Svet to revoke the defendant's release

order. Id. at 613. Magistrate Judge Svet held a hearing, during which he considered the transcripts

of the Arizona detention hearing, as well as additional evidence introduced by the government.

Id. At the conclusion of the hearing, Magistrate Judge Svet granted the government's motion and

ordered that the defendant be detained pending trial. Id. The defendant appealed this decision

to a New Mexico district judge who, after conducting a hearing, affirmed. Id.

       The question arose on appeal whether the government's motion before Magistrate Judge

Svet invoked Section 3142(f) or Section 3145. Id. at 614. The Tenth Circuit held that "review of a

detention or release order" under Section 3142(f) may only be "conducted by the same judicial

officer who entered the order." Id. Accordingly, because the challenged release order was issued

by a magistrate judge in Arizona and reviewed by a judge in New Mexico, the court concluded that

Section 3142(f) could not have been the basis for the government's motion. Id.

       The facts in the case sub judice closely resemble those in Cisneros. Here, as in Cisneros, a

judge in the charging district has reviewed an order issued by a judge in the arresting district.

Because a hearing may only be "reopened" by the same judicial officer who initially held it, Section

3142(f) does not provide the requisite authority for Magistrate Judge Shushan's order of release.

This Court's conclusion finds further support in district court decisions outside the Tenth Circuit,

which have adopted the reasoning in Cisneros. See, e.g., United States v. Cannon, 711 F. Supp. 2d

                                                 4
      Case 2:13-cr-00137-BWA-JVM            Document 181        Filed 09/24/13       Page 5 of 8




602, 606–07 (E.D. Va. 2010) (finding that Section 3142(f) "provides for the reconsideration of a

detention order only by the same judicial officer that conducted the original detention hearing");

United States v. Luisa, 266 F. Supp. 2d 440, 447 n.3 (W.D. N.C. 2003) (finding that Section 3142(f)

applies only "when an order of detention is 'reopened' before the same judicial officer who made

the initial determination").

II.     18 U.S.C. § 3145(b)

        The second mechanism for challenging a detention order is found in Section 3145(b), which

provides as follows:

               If a person is ordered detained by a magistrate judge, or by a person
               other than a judge of a court having original jurisdiction over the
               offense and other than a Federal appellate court, the person may
               file, with the court having original jurisdiction over the offense, a
               motion for revocation or amendment of the order. The motion shall
               be determined promptly.

        The statute is unclear which court(s) has "original jurisdiction over the offense." The Fifth

Circuit has not yet addressed this issue. The vast majority of circuits to consider the issue have held

that Section 3145(b) limits review to courts in the district in which charges are pending. See United

States v. Vega, 438 F.3d 801, 803 (7th Cir. 2006) (collecting cases).

        Having determined that Section 3145(b) is the proper mechanism for review, the Court next

inquires who may conduct that review, i.e., whether it is proper for a magistrate judge to review




                                                  5
    Case 2:13-cr-00137-BWA-JVM                Document 181          Filed 09/24/13       Page 6 of 8




a detention or release order issued by a different magistrate judge in a different district.2 The

Tenth Circuit addressed this issue in Cisneros, holding that it was improper for Magistrate Judge

Svet to review a release order issued by a magistrate judge in a different district. 328 F.3d at

615–16. The court explained that the motion should have been "considered and ruled upon in the

first instance by a district judge in the court of original jurisdiction." Id. at 615 (citations omitted).

        The Court finds the holding in Cisneros persuasive. Although Cisneros interpreted Section

3145(a)—which addresses review of a release order—the operative language of Section 3145(b)

is virtually identical. Both Sections authorize a district judge to review a magistrate judge's order

but do not confer this "same authority upon a magistrate judge in the charging district when the

challenged order was issued by a magistrate judge in the arresting district." See Cisneros, 328 F.3d

at 615–16 (quoting United States v. Johnson, 858 F. Supp. 199, 122 (N.D. Ind. 1994)). This

distinction suggests that Congress did not intend to cloak magistrate judges with the authority to

review the detention or release orders of other judges. See Cannon, 711 F. Supp. 2d at 608.

Moreover, the proposed construction of Section 3145 properly allocates supervisory authority over

magistrate judge decisions to the district judge. See Cisneros, 328 F.3d at 616 ("The hierarchy



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          Section 3145(b) appears to require that review be initiated upon motion of the parties. Thus, this
case raises the additional issue of whether the reviewing judge may invoke this Section sua sponte. Most
circuits to consider the issue have held that sua sponte review is proper. See Cisneros, 328 F.3d at 616
(citation omitted); United States v. Travis, 129 F.3d 1266, at *1 (6th Cir. 1997) (unpublished) (collecting
cases). The Court need not decide this issue today. Even assuming arguendo that review may be initiated
by the trial court, it may not be conducted by a magistrate judge.

                                                     6
    Case 2:13-cr-00137-BWA-JVM                 Document 181           Filed 09/24/13        Page 7 of 8




suggested by § 3145(a) is consistent with the ultimate decision‐making power and continuing

jurisdiction over the actions of magistrate judges that district court judges possess.") (citations

omitted).

        The Court's interpretation of Section 3145 is also consistent with the review process

contemplated by the Bail Reform Act. The statutory scheme provides for a maximum of two

detention hearings. Cannon, 711 F. Supp. 2d at 607. The first occurs at the initial appearance (or

shortly thereafter). Id. This hearing requires the presiding judge to make an initial determination

whether the defendant is a flight risk or a danger to the community. See 18 U.S.C. § 3142(f). As

discussed supra, the initial decision to retain or release the defendant can be reviewed under two

circumstances: (1) when the judge who made the initial decision "reopens" the detention hearing,

id., or (2) upon motion by either party in the charging district, 18 U.S.C. § 3145(a)–(b). See also

Cannon, 711 F. Supp. 2d at 607. Allowing a magistrate judge to review the decision of another

magistrate would essentially afford a party "three bites at the apple rather than the two bites

contemplated by the Bail Reform Act." Id. at 607–08 (internal quotation marks omitted). The party

could seek a detention hearing before the magistrate judge in the arresting district, before the

magistrate judge in the charging district, and then on appeal before the district judge in the

charging district.3 If Congress intended to provide a third bite at the apple based solely on whether

        3
         Because the district judge is required to review the magistrate judge's decision de novo, the district
judge can, but need not, hold another detention hearing. See United States v. Fortna, 769 F.2d 243, 249 (5th
Cir. 1985) (finding that de novo review is appropriate under Section 3145(a) and Section 3145(b)).

                                                      7
    Case 2:13-cr-00137-BWA-JVM               Document 181          Filed 09/24/13       Page 8 of 8




the defendant was arrested outside of the charging district, "the Bail Reform Act would provide as

much." Id. at 608.



                                             CONCLUSION

        For the reasons previously stated, Magistrate Judge Shushan lacked authority under 18

U.S.C. § 3142(f) and 18 U.S.C. § 3145(b) to hold a detention hearing or otherwise review the

detention order of another magistrate judge. Accordingly, the instant Motion is GRANTED and

Patterson is hereby REMANDED to the custody of the Attorney General for confinement in a

correctional facility pending trial. Nothing in this Order precludes Patterson from seeking review

of Magistrate Judge Robinson's detention order before the undersigned.4



        New Orleans, Louisiana, this 24th day of September, 2013.




                                                                 ______________________________
                                                                 JANE TRICHE MILAZZO
                                                                 UNITED STATES DISTRICT JUDGE




        4
          In his opposition memorandum to the instant Motion, Patterson moves this Court in the alternative
to revoke the detention order issued by Magistrate Judge Robinson. Under the Local Rules for the Eastern
District of Louisiana, however, an opposition memorandum to one motion cannot be dually considered as
a separate motion. All contested motions must be filed separately and noticed for submission.

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